       Case 1:17-cv-04430-LTS-BCM Document 74 Filed 12/14/18 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X

OSCAR FERNANDO RIVERAS, on behalf
of themselves and all others similarly situated,
et al.,

                               Plaintiffs,
        -v-                                                         No. 17-CV-4430-LTS-BCM

BILBOA REST. CORP. d/b/a FRANCISCOS
CENTRO VASCO, et al.,

                                Defendants.
------------------------------------------------------------X

                                             MEMORANDUM ORDER

                 The Court has received and reviewed Plaintiffs’ request for approval of the

proposed settlement agreement in this Fair Labor Standards Act (“FLSA”) case. (See Docket

Entry Nos. 68 and 69.) Defendants filed a letter separately to inform the Court that, while

Defendants “concur with Plaintiffs’ counsel that the $700,000 settlement is more than fair to

Plaintiffs,” they could not “in good conscience endorse (directly or indirectly) a fee application

of this magnitude ($192,500) for this case.” (Docket Entry No. 70.)

                 “[B]efore a district court enters judgment [on an FLSA settlement agreement], it

must scrutinize the settlement agreement to determine that the settlement is fair and reasonable.”

Wolinsky v. Scholastic Inc., 900 F. Supp. 2d 332, 335 (S.D.N.Y. 2012). “The ultimate question

is whether the proposed settlement reflects a fair and reasonable compromise of disputed issues

rather than a mere waiver of statutory rights brought about by an employer’s overreaching.” Id.

(internal quotation marks and citation omitted). In determining whether a settlement is fair and

reasonable, a court considers the totality of the circumstances, encompassing a range of factors

RIVERAS FLSA SETTLEMENT.DOCX                             VERSION DECEMBER 14, 2018                   1
       Case 1:17-cv-04430-LTS-BCM Document 74 Filed 12/14/18 Page 2 of 4



including: “(1) the plaintiff’s range of possible recovery; (2) the extent to which the settlement

will enable the parties to avoid anticipated burdens and expenses in establishing their respective

claims and defenses; (3) the seriousness of the litigation risks faced by the parties; (4) whether

the settlement agreement is the product of arm’s-length bargaining between experienced counsel;

and (5) the possibility of fraud or collusion.” Id. (internal quotation marks and citation omitted).

“Generally, there is a strong presumption in favor of finding a settlement fair, as the Court is

generally not in as good a position as the parties to determine the reasonableness of an FLSA

settlement.” Lliguichuzhca v. Cinema 60, LLC, 948 F. Supp. 2d 362, 365 (S.D.N.Y. 2013)

(internal quotation marks and citation omitted). Moreover, following the Second Circuit’s

decision in Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199, 206 (2d Cir. 2015), parties

may not privately settle FLSA claims without approval of either the district court or the

Department of Labor. In dicta in Cheeks, the Second Circuit expressed hesitation with respect to

the validity of settlement agreements containing confidentiality provisions, general releases or

excessive attorneys’ fees. See generally id.

               The Court recognizes Defendants’ objection to Plaintiffs’ requested attorneys’

fees. (See Docket Entry No. 70.) “A court determining the portion of a FLSA settlement

reasonably allocated to attorneys’ fees may use either a ‘lodestar’ method or a ‘percentage of the

fund’” method. Martinez v. SJG Foods LLC, 2017 WL 4676828, at *2 (S.D.N.Y. Oct. 16, 2017)

(citation omitted). Plaintiffs’ retainer agreement with their counsel provides for a contingent fee

of one-third (33.333%) of the recovery. (Docket Entry No. 69 at 5.) Counsel have requested an

award of 27.5% of the recovery, inclusive of costs and expenses. (Id.) The Court has reviewed

the requested award for reasonableness under both the percentage of fund and lodestar methods.

Evaluating the requested award in light of the work performed and the total recovery, the Court
RIVERAS FLSA SETTLEMENT.DOCX                      VERSION DECEMBER 14, 2018                          2
       Case 1:17-cv-04430-LTS-BCM Document 74 Filed 12/14/18 Page 3 of 4



finds the attorneys’ fees fair and reasonable under both methods. Plaintiffs’ counsel requests a

lodestar multiplier of 6.7, which is derived from the total requested award divided by the fees

and costs actually incurred litigating this action.1 As “Courts regularly award lodestar

multipliers of up to eight times the lodestar, and in some cases, even higher,” this Court finds

Plaintiffs’ requested multiplier fair and reasonable. See Beckman v. KeyBank, N.A., 293 F.R.D.

467, 481-82 (S.D.N.Y. 2013) (citing cases). Applying a lower lodestar multiplier may “result in

penalizing plaintiffs’ counsel for achieving an early settlement.” Id. at 482. Further, Plaintiffs’

counsel requested award is 27.5% of the total settlement amount (Docket Entry No. 69 at 5),

which falls squarely within the range of percentage-of-the-fund allocations “routinely granted”

by courts in this Circuit. Febus v. Guardian First Funding Grp., LLC, 870 F. Supp. 2d 337, 339

(S.D.N.Y. 2012) (finding reasonable a fee award of one-third of settlement fund). Therefore,

Defendants’ objection is overruled.

               In light of the considerations articulated above, as well as the Court’s review of

the agreement and the parties’ representations as set forth in their respective letter submissions,

the Court finds that the proposed settlement agreement, including the attorneys’ fees and expense

award component, is fair and reasonable and that it satisfies the requirements of Cheeks. The

parties are directed to file their Stipulation of Dismissal by January 11, 2019.




1
       Plaintiffs’ counsel provided the Court with a detailed accounting of the work they
       performed. (See Docket Entry No. 69, Ex. 5.) These fees, which are billed at rates
       reasonable for lawyers of comparable experience doing work of this nature in this area,
       and costs amount to a lodestar figure of $28,744.64.
RIVERAS FLSA SETTLEMENT.DOCX                      VERSION DECEMBER 14, 2018                           3
      Case 1:17-cv-04430-LTS-BCM Document 74 Filed 12/14/18 Page 4 of 4



              Docket Entry Nos. 68 and 69 are resolved.


       SO ORDERED.


Dated: New York, New York
       December 14, 2018
                                                           /s/ Laura Taylor Swain
                                                          LAURA TAYLOR SWAIN
                                                          United States District Judge




RIVERAS FLSA SETTLEMENT.DOCX                  VERSION DECEMBER 14, 2018                  4
